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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

  PATRICIA KENNEDY, Individually,           :
                                            :
              Plaintiff,                    :
                                            :
  v.                                        :           Case No.
                                            :
  PARADISE INN HOSTEL, LLC d/b/a THE        :
  PARADISE INN, a Florida Limited Liability :
  Company,                                  :
                                            :
              Defendant.                    :
  _______________________________________/ :
                                            :

                                          COMPLAINT
                                   (Injunctive Relief Demanded)

         Plaintiff, PATRICIA KENNEDY, Individually, on her behalf and on behalf of all other

  individuals similarly situated, (sometimes referred to as “Plaintiff”), hereby sues Defendant,

  PARADISE INN HOSTEL, LLC d/b/a THE PARADISE INN, a Florida Limited Liability Company,

  (sometimes referred to as “Defendant”), for Injunctive Relief, and attorney’s fees, litigation

  expenses, and costs pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq.

  (“ADA”).

  1.                   Plaintiff is a resident of Broward County, Florida, is sui juris, and qualifies

                as an individual with disabilities as defined by the ADA. Plaintiff is unable to

                engage in the major life activity of walking more than a few steps without assistive

                devices. Instead, Plaintiff is bound to ambulate in a wheelchair or with a cane or

                other support and has limited use of her hands. She is unable to tightly grasp, pinch

                and twist of the wrist to operate. When ambulating beyond the comfort of her own

                home, Plaintiff must primarily rely on a wheelchair. Plaintiff requires accessible
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             handicap parking spaces located closet to the entrances of a facility. The handicap

             and access aisles must be of sufficient width so that she can embark and disembark

             from a ramp into her vehicle. Routes connecting the handicap spaces and all features,

             goods and services of a facility must be level, properly sloped, sufficiently wide and

             without cracks, holes or other hazards that can pose a danger of tipping, catching

             wheels or falling. These areas must be free of obstructions or unsecured carpeting

             that make passage either more difficult or impossible. Amenities must be sufficiently

             lowered so that Plaintiff can reach them. She has difficulty operating door knobs,

             sink faucets, or other operating mechanisms that tight grasping, twisting of the wrist

             or pinching. She is hesitant to use sinks that have unwrapped pipes, as such pose a

             danger of scraping or burning her legs. Sinks must be at the proper height so that she

             can put her legs underneath to wash her hands. She requires grab bars both behind

             and beside a commode so that she can safely transfer and she has difficulty reaching

             the flush control if it is on the wrong side. She has difficulty getting through

             doorways if they lack the proper clearance.

  2.                 Plaintiff is an advocate of the rights of similarly situated disabled persons and

             is a "tester" for the purpose of asserting her civil rights and monitoring, ensuring, and

             determining whether places of public accommodation and their websites are in

             compliance with the ADA.

  3.                 According to the county property records, Defendant owns a place of public

             accommodation as defined by the ADA and the regulations implementing the ADA,

             28 CFR 36.201(a) and 36.104. The place of public accommodation that Defendant


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             owns is a place of lodging known as THE PARADISE INN, 819 Simonton St, Key

             West, FL 33040, and is located in the County of MONROE COUNTY, FLORIDA,

             (hereinafter "Property").

  4.                 Venue is properly located in the SOUTHERN DISTRICT OF FLORIDA

             because the injury occurred in this district.

  5.                 Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given

             original jurisdiction over actions which arise from Defendant’s violations of Title III

             of the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28 U.S.C.

             § 2201 and § 2202.

  6.                 As the owner of the subject place of lodging, Defendant is required to comply

             with the ADA. As such, Defendant is required to ensure that it's place of lodging is

             in compliance with the standards applicable to places of public accommodation, as

             set forth in the regulations promulgated by the Department Of Justice. Said

             regulations are set forth in the Code Of Federal Regulations, the Americans With

             Disabilities Act Architectural Guidelines ("ADAAGs"), and the 2010 ADA

             Standards, incorporated by reference into the ADA. These regulations impose

             requirements pertaining to places of public accommodation, including places of

             lodging, to ensure that they are accessible to disabled individuals.

  7.                 More specifically, 28 C.F.R. Section 36.302(e)(1) imposes the following

             requirement:

             Reservations made by places of lodging. A public accommodation that owns,
             leases (or leases to), or operates a place of lodging shall, with respect to reservations
             made by any means, including by telephone, in-person, or through a third party -


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                     (I) Modify its policies, practices, or procedures to ensure that individuals with
                     disabilities can make reservations for accessible guest rooms during the same
                     hours and in the same manner as individuals who do not need accessible
                     rooms;
                     (ii) Identify and describe accessible features in the hotels and guest rooms
                     offered through its reservations service in enough detail to reasonably permit
                     individuals with disabilities to assess independently whether a given hotel or
                     guest room meets his or her accessibility needs;
                     (iii) Ensure that accessible guest rooms are held for use by individuals with
                     disabilities until all other guest rooms of that type have been rented and the
                     accessible room requested is the only remaining room of that type;
                     (iv) Reserve, upon request, accessible guest rooms or specific types of guest
                     rooms and ensure that the guest rooms requested are blocked and removed
                     from all reservations systems; and
                     (v) Guarantee that the specific accessible guest room reserved through its
                     reservations service is held for the reserving customer, regardless of whether
                     a specific room is held in response to reservations made by others.

  8.                 These regulations became effective March 15, 2012.

  9.                 Defendant, either itself or by and through a third party, implemented,

             operates, controls and or maintains a website for the Property which contains an

             online reservations system. This website is located at https://theparadiseinn.com and

             http://secure.webrez.com/Bookings105/activity-edit.html?hotel_id=1158&table=h

             otels&listing_id=1158&mode=command&command=bookingrequestform_v2&_

             ga=2.143646901.1068762354.1559259888-1406623575.1559259888. Defendant

             also utilizes third party online reservations systems, including booking.com,

             kayak.com, hotels.com and expedia.com. Defendant's online reservations system is

             hereinafter referred to as "website" or "websites". The purpose of this website is so

             that members of the public may reserve guest accommodations and review

             information pertaining to the goods, services, features, facilities, benefits, advantages,




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             and accommodations of the Property. As such, this website is subject to the

             requirements of 28 C.F.R. Section 36.302(e).

  10.               Prior to the commencement of this lawsuit, Plaintiff visited the website on

             May 30, 2019, May 31, 2019, June 1, 2019, June 2, 2019, June 3, 2019, June 4, 2019,

             June 5, 2019, June 10, 2019, June 22, 2019, July 19, 2019, July 20, 2019, July 25,

             2019, July 31, 2019 and August 1, 2019 for the purpose of reviewing and assessing

             the accessible features at the Property and ascertain whether they meet the

             requirements of 28 C.F.R. Section 36.302(e) and her accessibility needs. However,

             Plaintiff was unable to do so because Defendant failed to comply with the

             requirements set forth in 28 C.F.R. Section 36.302(e). As a result, Plaintiff was

             deprived the same goods, services, features, facilities, benefits, advantages, and

             accommodations of the Property available to the general public. Specifically, the

             website indicates that the hotel has a spa tub, laundry service, an outdoor pool, self

             parking, a computer station; however, there is no information as to whether any or

             all of these hotel features are accessible. Expendia.com had no option to book an

             accessible room; hotel amenities, room types and amenities are all listed in detail; no

             information was given about accessibility in the hotel other than the statements

             "accessible bathroom", "roll-in shower" and "in-room accessibility". Kayak.com had

             no option to book an accessible room; hotel amenities, room types and amenities are

             all listed in detail; no information was given about accessibility in the hotel other

             than the statement "increased accessibility". In addition, the third-party websites

             provided no information as to whether or where the property offers


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             compliant/accessible roll-in showers, tubs, built in seating, commodes, grab bars,

             sinks, wrapped pipes, sink and door hardware, properly located amenities, sufficient

             maneuvering spaces, compliant doors, furniture, controls and operating mechanisms.

             The websites do not contain any information as to whether all goods, facilities and

             services at the property are connected by a compliant accessible route, nor do the

             websites contain any information as to the accessibility of routes connecting all the

             features of the hotel, the transaction counter, parking, and common area restrooms.

             The websites do not give any information as to whether accessible rooms are on the

             ground floor or if an elevator is provided within an accessible route. Nor do the

             websites give any information regarding the pool/pools having an accessible lift.

  11.               In the near future, Plaintiff intends to revisit Defendant's website and/or

             online reservations system in order to test it for compliance with 28 C.F.R. Section

             36.302(e) and/or to utilize the website to reserve a guest room and otherwise avail

             herself of the goods, services, features, facilities, benefits, advantages, and

             accommodations of the Property.

  12.               Plaintiff is continuously aware that the subject website remains non-

             compliant and that it would be a futile gesture to revisit the website as long as those

             violations exist unless she is willing to suffer additional discrimination.

  13.               The violations present at Defendant's website infringe Plaintiff's right to travel

             free of discrimination and deprive her of the information required to make

             meaningful choices for travel. Plaintiff has suffered, and continues to suffer,

             frustration and humiliation as the result of the discriminatory conditions present at


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             Defendant's website. By continuing to operate a website with discriminatory

             conditions, Defendant contributes to Plaintiff's sense of isolation and segregation and

             deprives Plaintiff the full and equal enjoyment of the goods, services, facilities,

             privileges and/or accommodations available to the general public. By encountering

             the discriminatory conditions at Defendant's website, and knowing that it would be

             a futile gesture to return to the website unless she is willing to endure additional

             discrimination, Plaintiff is deprived of the same advantages, privileges, goods,

             services and benefits readily available to the general public. By maintaining a

             website with violations, Defendant deprives Plaintiff the equality of opportunity

             offered to the general public.

  14.               Plaintiff has suffered and will continue to suffer direct and indirect injury as

             a result of Defendant’s discrimination until Defendant is compelled to modify its

             website to comply with the requirements of the ADA and to continually monitor and

             ensure that the subject website remains in compliance.

  15.               Plaintiff has a realistic, credible, existing and continuing threat of

             discrimination from Defendant’s non-compliance with the ADA with respect to this

             website. Plaintiff has reasonable grounds to believe that she will continue to be

             subjected to discrimination in violation of the ADA by Defendant.

  16.               Defendant has discriminated against Plaintiff by denying her access to, and

             full and equal enjoyment of, the goods, services, facilities, privileges, advantages

             and/or accommodations of the subject website.




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  17.                Plaintiff and all others similarly situated will continue to suffer such

             discrimination, injury and damage without the immediate relief provided by the ADA

             as requested herein.

  18.                Defendant has discriminated against Plaintiff by denying her access to full

             and equal enjoyment of the goods, services, facilities, privileges, advantages and/or

             accommodations of its place of public accommodation or commercial facility in

             violation of 42 U.S.C. § 12181 et seq. and 28 CFR 36.302(e). Furthermore,

             Defendant continues to discriminate against Plaintiff, and all those similarly situated

             by failing to make reasonable modifications in policies, practices or procedures,

             when such modifications are necessary to afford all offered goods, services, facilities,

             privileges, advantages or accommodations to individuals with disabilities; and by

             failing to take such efforts that may be necessary to ensure that no individual with a

             disability is excluded, denied services, segregated or otherwise treated differently

             than other individuals because of the absence of auxiliary aids and services.

  19.                Plaintiff is without adequate remedy at law and is suffering irreparable harm.

             Plaintiff has retained the undersigned counsel and is entitled to recover attorney’s

             fees, costs and litigation expenses from Defendant pursuant to 42 U.S.C. § 12205 and

             28 CFR 36.505.

  20.                Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

             Plaintiff Injunctive Relief, including an order to require Defendant to alter the subject

             website to make it readily accessible and useable to Plaintiff and all other persons




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               with disabilities as defined by the ADA and 28 C.F.R. Section 36.302(e); or by

               closing the website until such time as Defendant cures its violations of the ADA.

  WHEREFORE, Plaintiff respectfully requests:

        a.     The Court issue a Declaratory Judgment that determines that Defendant at the

               commencement of the subject lawsuit is in violation of Title III of the Americans

               with Disabilities Act, 42 U.S.C. § 12181 et seq. and 28 C.F.R. Section 36.302(e).

        b.     Injunctive relief against Defendant including an order to revise its website to comply

               with 28 C.F.R. Section 36.302(e) and to implement a policy to monitor and maintain

               the website to ensure that it remains in compliance with said requirement.

        c.     An award of attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C.

               § 12205.

        d.     Such other relief as the Court deems just and proper, and/or is allowable under

               Title III of the Americans with Disabilities Act.

               Respectfully Submitted,




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                                     By: /s/ Kimberly A. Corkill, Esq.

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